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                             Exhibit 8
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Thu, Apr 25, 2024 at 9:59 AM
  Subject: BruinALERT: Campus Activity Updates (April 25th)
  To:                                  <                                     >


  BruinALERT: A demonstration with encampments formed early this morning (Thursday,
  April 25) in Royce Quad.

  We’re actively monitoring this situation to support a safe and peaceful campus environment
  that respects our community’s right to free expression while minimizing disruption to our
  teaching and learning mission.

  At this time, the typical campus teaching and learning activities will continue as usual and
  classes will be held as planned.

  Access to Royce Hall and Powell Library has been restricted. Students who need to access
  Royce Hall should be ready to show their Bruin Card for entry.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




                        SHEMUELIAN DECLARATION EXHIBIT 8
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